                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:
                                                              Case No. 12-44593
JAMES LOUIS DEMETER
and GLORY LEE DEMETER,                                        Chapter 7

                       Debtors.                               Judge Thomas J. Tucker
                                          /

STUART A. GOLD, TRUSTEE,

                       Plaintiff,

vs.                                                           Adv. Pro. No. 12-5212

GLORY LEE DEMETER,

                       Defendant.
                                         /

STUART A. GOLD, TRUSTEE,

                       Plaintiff,

vs.                                                           Adv. Pro. No. 12-5284

DELORES ZIOLE,

                       Defendant.
                                         /

                                        TRIAL OPINION

I. Introduction

         The Court held a joint bench trial in these two adversary proceedings, followed by two

rounds of briefing filed after the close of evidence. The Court has considered all of the

arguments of the parties; all of the exhibits admitted into evidence at trial, namely Stipulated

Exhibit Nos. 1-10 and Debtor’s Exhibit B; and all of the testimony of the trial witnesses, namely




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Defendants Delores Ziole and Glory Demeter; and James Demeter. This opinion constitutes the

Court’s findings of fact and conclusions of law regarding these two adversary proceedings.

        The Plaintiff in each of these adversary proceedings, Stuart Gold, is the trustee in the

Chapter 7 bankruptcy case of James L. Demeter and Glory L. Demeter, Case No. 12-44593. In

Adv. No. 12-5212, Plaintiff Trustee seeks a judgment denying the Debtor Glory L. Demeter a

discharge, based 11 U.S.C. § 727(a)(2)(A).1

        In Adv. No. 12-5284, the Trustee’s First Amended Complaint2 contains four counts

against Defendant Delores Ziole, who is the mother of the Debtor Glory Demeter. The Trustee

describes those counts in the Final Pretrial Order in this way:

                 Plaintiff seeks a money judgment against the Debtor’s mother,
                 Delores Ziole (the “Defendant”) on Count I and II of Plaintiff’s
                 complaint avoiding and recovering certain cash transfers pursuant
                 to 11 U.S.C. §§ 548(a), 544(b), 550(a)(1) and M.C.L. §
                 566.34(1)(a). Plaintiff also seeks a money judgment against the
                 Defendant on Count III of Plaintiff’s complaint for turnover of the
                 value of the Debtor’s remaining inheritance interest in her late
                 father estate pursuant to M.C.L. § 700.105 (1979) and 11 U.S.C. §
                 542(a). Finally, Plaintiff seeks a judgment on Count IV of
                 Plaintiff’s complaint, disallowing the Defendant’s proof of claim,
                 if any, pursuant to 11 U.S.C. § 502(d).

                 Counts I & II

                 Plaintiff seeks to avoid and recover two (2) transfers totaling
                 $177,539.00 made on February 6, 2012, from two (2) bank
                 accounts held jointly between the Debtor and Defendant to two (2)
                 bank accounts held exclusively by Defendant (the “Transfers”).
                 Prior to the Transfers, the cash balances in the bank accounts were


        1
          This is Count I of the Trustee’s complaint in Adv. No. 12-5212 (Docket # 1). The other count
in that complaint, Count II, was voluntarily dismissed as part of the Final Pretrial Order entered in Adv.
No. 12-5212 (Docket # 25), at p. 2.
        2
            Docket # 16 in Adv. No. 12-5284.

                                                     2



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                 comprised exclusively of the proceeds of liquidated Treasury
                 Direct accounts held jointly by the Debtor and the Defendant. The
                 Debtor and Defendant inherited the money used to initially fund
                 the Treasury Direct Account from the Debtor’s late father who died
                 intestate on December 6, 1989 (the “Decedent’s Estate”).

                 The Transfer was made to an insider, within a month of filing for
                 bankruptcy, for less than reasonably equivalent value, while the
                 Debtor was insolvent. Further, the Transfers were made with
                 actual intent to hinder, delay, or defraud the Debtor’s creditors and
                 the Trustee by attempting to remove the cash balance to a bank
                 accounts that would not constitute property of the bankruptcy
                 estate upon the Debtor’s bankruptcy filing.

                 Count III

                 Plaintiff seeks a money judgment for the value of the Debtor’s
                 remaining inheritance interest in the Decedent’s Estate. The
                 Debtor has an interest by intestate succession in the portion of the
                 Decedent’s Estate not used to fund the Treasury Direct Account
                 pursuant to M.C.L. 700.105 (1979). The Plaintiff request this
                 amount be deducted from the Defendant’s interest in the Transfers.

                 Count IV

                 Plaintiff seeks judgment disallowing the Defendant’s proof of
                 claim, if any, against the bankruptcy estate because Defendant
                 maintains possession of property that is recoverable from her by
                 the Trustee pursuant to 11 U.S.C. §§ 542 & 550.3

       For the reasons stated in this opinion, the Court will enter judgment for each of the

Defendants in these adversary proceedings.

II. Jurisdiction

       This Court has subject matter jurisdiction over each of these adversary proceedings under

28 U.S.C. §§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a) (E.D. Mich.). Adversary

proceeding No. 12-5212 (Gold v. Demeter) is a core proceeding under 28 U.S.C. §§ 157(b)(2)(J).


       3
           Final Pretrial Order (Docket # 33 in Adv. No. 12-5284) at pp. 2-3.

                                                    3



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Adversary proceeding No. 12-5284 (Gold v. Ziole) is a core proceeding under 28 U.S.C.

§§ 157(b)(2)(A), 157(b)(2)(E), 157(b)(2)(H), and 157(b)(2)(O).

III. Background and facts

       Initially, the Court notes that each of the parties to these adversary proceedings have

stipulated to the following facts, as stated in the final pretrial order entered in each adversary

proceeding. The Court now adopts and incorporates the following stipulated facts into its

findings of fact and conclusions of law:

               c.      On February 28, 2012 ("petition date"), Glory Demeter (the
               “Defendant” and/or “Debtor”) and her husband James Demeter filed
               a voluntary joint petition under Chapter 7 of Title 11 of the United
               States Code.

               d.     Plaintiff Stuart A. Gold is the duly appointed Chapter 7
               Trustee of the debtors bankruptcy estate.

               e.      Delores Ziole (“Ziole”) is the Debtor’s mother who resides at
               13732 Cambridge Street, Apt. 302, Southgate, Michigan, located
               within this judicial district.

               f.    At all times relevant to this Complaint, Ziole is an insider of
               the Debtor within the meaning of 11 U.S.C. § 101(31)(A)(i) and
               M.C.L. § 566.31(g).

               g.     Prior to the petition date, the Debtor’s name appeared jointly
               with Ziole on a Fifth Third Bank account, account number ending
               6539 (“Fifth Third Account”) and a PNC Bank account, account
               number ending 6672 (“PNC Account”) (collectively, the “Accounts”).

               h.     On or about February 6, 2012, the Debtor requested and/or
               permitted Ziole to request Fifth Third Bank and PNC Bank to remove
               the Debtor’s name from both the Fifth Third Account and PNC
               Account (the “Transfers”).

               i.      The cash balance in the Fifth Third Account immediately
               prior to the Transfers totaled $167,854.71.



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                j.     The cash balance in the PNC Account immediately prior to
                the Transfers totaled $10,846.89.

                k.     As a result of the request to remove Debtor’s name from the
                Fifth Third Account, Fifth Third Bank immediately closed the Fifth
                Third Account and deposited the cash balance held in the Fifth Third
                account in a new bank account, account number ending 0514, held
                exclusively in Ziole’s name.

                m.     As a result of the request to remove Debtor’s name from the
                PNC Account, PNC Bank immediately removed the Debtor’s name
                from the PNC Account. As a result, a new bank account was
                immediately opened on the same day exclusively in Ziole’s name,
                account number ending 0578, and named the Debtor as the
                beneficiary of the new bank account. Approximately $9,684.83 was
                immediately transferred from the PNC Account to the new PNC bank
                account, account number ending 0578.

                k.      The total amount alleged to be transferred is $177,539.54.

                n.      At approximately the same time as the Transfers, American
                Express Bank FSB and Capital One Bank had pending lawsuits
                against the Debtor for unpaid credit card debt totaling approximately
                $31,543.64. Additionally, Discover Bank had already obtained a
                judgment against the Debtor for $15,912.45. At the time of the
                Transfer, and at approximately the same time as the funds from the
                Treasury Direct account began to be deposited into the Fifth Third
                Account, the Debtor ceased making their mortgage payments.

                o.     At the time of the Transfer the Debtor owed approximately
                $43,400.00 in unsecured non-priority debt as scheduled on
                Schedule F.4

        The Court makes additional findings in the next section of this opinion.




        4
           These stipulated facts are quoted from the Final Pretrial Order entered in Adv. No. 12-5212
(Docket # 25) at pp. 3-4. (The mis-lettering of the paragraphs is in the original). The same stipulated
facts, with some minor, non-substantive differences in wording, appear in the Final Pretrial Order entered
in Adv. No. 12-5284 (Docket # 33) at pp. 4-5.

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IV. Discussion

        A. Ownership of the funds in the joint accounts at issue

        A key dispute in both of these adversary proceedings concerns the ownership of the two

joint bank accounts at issue. Until February 6, 2012, Defendant Ziole had an account with PNC

Bank and an account with Fifth Third Bank, each of which was in the name of both Ziole and her

daughter, the Defendant-Debtor Glory Demeter. These two joint accounts (the “Joint Accounts”)

had been in the name of both Ziole and Demeter for many years. On February 6, 2012, Ziole and

Demeter went to these banks and, in effect, caused Debtor Glory Demeter’s name to be removed

from the accounts. The resulting change in account status, and the account balances involved,

can be summarized this way:

        The Fifth Third bank account:

        Fifth Third account (account number ending in “6539”), jointly in the name of “Delores I.
        Ziole” and “Glory L. Demeter,” contained an account balance just before the change
        made on February 6, 2012 of $167,854.71;5 and just after the change the Fifth Third
        account (with new account number, ending in “0514”) was in the name of “Delores I.
        Ziole” only, with a balance of $167,854.71.6

        The PNC Bank account:

        PNC Bank account (account number ending in “6672”), jointly in the name of “Delores I.
        Ziole” and “Glory Lee Demeter,” contained an account balance just before the change
        made on February 6, 2012 that included the sum of $9,684.83, which was withdrawn on
        February 6, 2012,7 and deposited into a new PNC Bank account (account number ending
        in “0578”). This second, new PNC Bank account was titled in the name of “Delores I.



        5
           See Stipulated Exhibit 2, Statement Period ending 2/6/2012, at p. 1. (The Stipulated Exhibits
are cited in this opinion as “SX-_”).
        6
            See SX-3, page 1.
        7
            See SX-4, Statement Period ending 2/13/2012, at p. 2.

                                                     6



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       Ziole” only (with Glory Lee Demeter listed as a beneficiary only), and then contained the
       $9,684.83 deposited on February 6, 2012.8

       The Trustee’s primary contention is that until the events of February 6, 2012, the Debtor

Glory Demeter owned one-half of the $167,854.71 in funds in the joint Fifth Third Bank account

(i.e., $167,854.71 ÷ 2 = $83,927.35), and one-half the $9,864.83 in funds that were in the joint

PNC Bank account and withdrawn on February 6, 2012 (i.e., $9,864.83 ÷ 2 = $4,932.41). If the

Trustee is correct about this, then clearly there was a transfer on February 6, 2012 of a total of

$88,859.76 ($83,927.35 + $4,932.41 = $88,759.76) of the Debtor’s funds to the Debtor’s mother,

Defendant Ziole. The Trustee contends that this was a fraudulent transfer, and seeks to avoid and

recover it for the benefit of the Debtor Glory Demeter’s bankruptcy estate and creditors.

       Both of the Defendants contend that none of the funds in either of the Joint Accounts was

property of the Debtor Glory Demeter, but rather that all the funds were the sole property of Ms.

Ziole, even though the accounts were titled jointly in the names of both Ms. Ziole and Glory

Demeter.

       There is a presumption under Michigan law that funds held in a joint bank account are

owned equally by both account holders. As applied in this case, therefore, there is a presumption

that one-half of funds in the Joint Accounts were the property of Glory Demeter, and the other

half were the property of Defendant Delores Ziole. See Danielson v. Lizoski, 531 N.W.2d 799,

801-02 (Mich. App. 1995) and cases cited therein. That presumption of equal ownership may be

rebutted, however, by evidence showing that one of the two joint account holders owns more

than one-half of the funds in the account. Id. Normally, such evidence would include evidence



       8
           See SX-5 at p. 1.

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of how much of the funds in the joint account each account holder supplied. Evidence to rebut

the presumption may include the testimony of the account holders themselves, but the trier of fact

is not required to believe such testimony. Compare Muskegon Lumber & Fuel Co. v. Johnson,

62 N.W.2d 619, 622-23 (Mich. 1954) (testimony of the account holders was not disputed by any

other evidence, and the trial court believed such testimony) with American National Bank &

Trust Co. of Michigan v. Modderman, 195 N.W.2d 342, 343-44 (Mich. App. 1972) (affirming

decision of the trial court, which found the presumption of equal ownership not rebutted and did

not believe the testimony of the account holders).

        In this case, the evidence regarding the two Joint Accounts indicates that the Debtor

Glory Demeter had the ability to withdraw funds unilaterally, just as Defendant Ziole did. The

accounts were joint, in both names, and Glory Demeter testified that “years ago” she signed

signature cards for these accounts.9 And Ms. Ziole testified that one of the purposes of having

Glory Demeter’s name on the accounts was so that Ms. Demeter could get money out for Ms.

Ziole if Ms. Ziole became ill and needed money.10 This clearly implies that Glory Demeter and

Ms. Ziole each had the ability unilaterally to withdraw all the funds from these Joint Accounts.

        But the fact that Glory Demeter could unilaterally withdraw all the funds from these Joint

Accounts does not necessarily mean that any of the funds in the Joint Accounts were her

property. And the Court concludes that the Defendants have indeed rebutted the presumption

under Michigan law that Glory Demeter owned a one-half interest in the funds in these Joint



        9
             Trial Transcript (Docket # 47 in Adv. No. 12-5284) at 71. Later in this opinion, citations to
this trial transcript will be to “Tr. at __.”
        10
             Tr. at 34, 44.

                                                      8



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Accounts. The Court finds and concludes, based on a preponderance of the evidence, that at all

times before the transfers at issue were made on February 6, 2012, Glory Demeter did not own

any of the funds in either of the Joint Accounts.

        The evidence, including the testimony of Ms. Ziole and Glory Demeter, which the Court

finds to be credible, established the following facts, which demonstrate that Glory Demeter did

not own any of the funds in either of the Joint Accounts.

       First, all of the funds that were in the Joint Accounts came from among the following

sources, and no other source:

       1. of the funds in the PNC Bank joint account, from Delores Ziole’s monthly social

       security benefit, which she had been receiving continuously since her husband’s death in

       1989, and the amount of which as of February 2012 was $1,457.00 per month;11

       2. from a life insurance benefit paid to Ms. Ziole due to the death of her husband in 1989,

       in an amount not now known with certainty, but which Ms. Ziole thinks was $45,000;12

       3. from funds that were in one or more joint bank accounts owned by Ms. Ziole and her

       husband, which accounts passed to the sole ownership of Ms. Ziole upon her husband’s

       death in 1989;13

                 a. the source of the funds in these accounts, before the death of Ms. Ziole’s

                 husband, may have included, in amounts not now recalled or documented, money




       11
            See Tr. at 32, 41, 58-59; SX-4, Statement ending 2/13/2012 at p. 1.
       12
            Tr. at 39.
       13
            See Tr. at 35, 44, 45, 54, 55.

                                                     9



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                 earned by Mr. Ziole’s employment before his death;14 the proceeds of the sale of a

                 home owned jointly by Ms. Ziole and her husband;15 and the sale of a boat owned

                 solely by Ms. Ziole’s husband;16 all in amounts that Ms. Ziole could not recall or

                 document at the time of trial;

       4. from the sale of a building, owned by Ms. Ziole’s husband and possibly also by Ms.

       Ziole, that had been used for Mr. Ziole’s business before his death; in amounts that were

       paid to Ms. Ziole in monthly payments for a year or two, in an amount that Ms. Ziole

       could not recall for sure at the time of trial but which she thinks was $800 per month, plus

       a lump sum payment in an amount that Ms. Ziole could not recall or document at the time

       of trial;17 and

       5. from the collection of money that was owed to Ms. Ziole’s husband or his business; in

       amounts that Ms. Ziole could not recall or document at the time of trial.18

       It is not surprising that Ms. Ziole could not recall or document the amounts just discussed

at the time of trial, because these concern events that occurred before or soon after 1989, more

than 20 years before trial, and because Ms. Ziole did not retain records from that long ago.




       14
            Tr. at 35-36.
       15
            Tr. at 56.
       16
            Tr. at 48.
       17
            Tr. at 46-47, 64-65.
       18
            Tr. at 48.

                                                    10



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       Second, both of the Defendants testified that none of the funds in either of the Joint

Accounts came from Glory Demeter or from proceeds of any property of Glory Demeter.19

       Third, the following argument by the Trustee is unavailing. The Trustee points out, and

it appears to be undisputed, that as much as $130,000.00 of the funds in the Fifth Third Bank

joint account came from Ms. Ziole having liquidated U.S. Treasury bonds that Ms. Ziole had

acquired many years earlier, and which Ms. Ziole had placed in the joint names of herself and

Glory Demeter. The Trustee cites federal regulations, including 31 C.F.R. 315.5(a), which states

that with an exception not applicable here, “[r]egistration [of savings bonds] is conclusive of

ownership,” and that: “Savings bonds are issued only in registered form. The registration must

express the actual ownership of, and interest in, the bond.” This may well mean, as the Trustee

contends, that during the time the $130,000 in funds were invested in Treasury bonds titled

jointly, federal law deemed Ms. Ziole and Glory Demeter to be co-owners of the bonds. But this

does not mean that the proceeds of such Treasury bonds, once the bonds were liquidated, must be

considered in any part the property of Glory Demeter. When “equitable interests” exist that show

grounds to do so, the Michigan courts, applying Michigan law, will find or impose “constructive

or resulting trusts upon the proceeds of U.S. Treasury bonds.” See Klapp v. Beverly Hall

Foundation (In re Estate of Freedland), 197 N.W.2d 143, 149 (Mich. App. 1972) (citing

numerous cases). An example of this is where the clear intent of the person who acquired the

Treasury bonds would be “frustrated solely by the legal technicalities of the treasury regulations.”

See id. at 150.




        19
             Tr. at 54, 84.

                                                11



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        The funds that Ms. Ziole used to acquire these Treasury bonds came from one or more of

the sources in the list in Item “First” above, item nos. 1-5, and no other source (and therefore not

from any property or funds belonging to Glory Demeter). And the Court credits Ms. Ziole’s

testimony, that she put Glory Demeter’s name on the Treasury bonds only so that Glory would

own them automatically if Ms. Ziole passed away before the bonds were cashed in.20 (And such

result would occur under the treasury regulations cited by the Trustee. See 31 C.F.R.

315.70(b)(1).) And, finally, when the Treasury bonds were liquidated by Ms. Ziole, she put the

proceeds of the bonds in the joint Fifth Third Bank account.

        Given the foregoing, the federal treasury regulations cited by the Trustee do not undercut

Defendants’ contention that Glory Demeter did not own any of the funds in the joint Fifth Third

Bank account.

        Fourth, both Ms. Ziole and Glory Demeter understood and intended that all of the funds

in the two Joint Accounts at issue, as well as all of the funding sources for those two Joint

Accounts, were owned entirely by Ms. Ziole, and not in any portion by Glory Demeter. And this

shared understanding long predated the events of February 2012.21

        Fifth, none of the sources of funds listed in Item “First” above, item nos. 1-5, can be

deemed to be in any part property or funds belonging to Glory Demeter due to any right she may

have had in 1989 to inherit from her father, who died intestate.




        20
           See Tr. at 46 (Ms. Ziole testified that she opened the Treasury bonds with Glory’s name on
them as well “[f]or the reason because she was my only child and I thought if I would pass away I would
want her to have whatever monies that I had.”)
        21
             See Tr. at 43-44, 45-46, 71, 84.

                                                  12



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         Under Michigan law in effect in 1989, when Glory Demeter’s father died without a Will,

Glory Demeter would have been entitled to inherit one half of the residue of the “intestate

estate,” after payment of the first $60,000.00 to the surviving spouse (Ms. Ziole). See former

Mich. Comp. Laws Ann. § 700.105(c) (repealed in 2000). This law was changed by the repeal of

§ 700.105, and its replacement with Mich. Comp. Laws Ann. § 700.2102, effective April 1,

2000. If the latter section were applied, it would mean that Glory Demeter would have been

entitled to inherit one half of the residue of her father’s “intestate estate” after payment of the

first $150,000.00 to the surviving spouse (Ms. Ziole). See Mich. Comp. Laws Ann.

§ 700.2102(b).22

         The parties dispute which version of the intestacy statute would apply — the pre-2000

version or the post-2000 version. But the Court concludes that it is not necessary to decide that

issue.

         The evidence at trial was not sufficient for the Court to determine or estimate what the

value or amount of Mr. Ziole’s “intestate estate” was, within the meaning of the intestacy

statutes. But the evidence did show that Ms. Ziole took and kept all of the “intestate estate” of

her late husband for herself, with the knowledge and aquiescence of Glory Demeter;23 that no

probate estate was opened;24 and that Glory Demeter never asked that a probate estate be opened

after her father’s death.25 Nor did Glory Demeter ever indicate to Ms. Ziole that she (Glory) was

         22
           The statements above, about Glory Demeter’s statutory share of the “intestate estate,” are
based on the fact, proven at trial, that Glory Demeter is the only child of both Ms. Ziole and her husband.
         23
              Tr. at 56.
         24
              Tr. at 50-51.
         25
              Tr. at 61.

                                                    13



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entitled to any money from her father’s estate.26 If Ms. Ziole ended up with more of her statutory

share of Mr. Ziole’s “intestate estate,” under either version of the intestacy statute cited above, a

fact not proven at trial, the evidence showed, and the Court finds, that Glory Demeter waived

any right she may have had to claim any share of the “intestate estate,” many years before the

February 2012 transfers at issue in this case. By February 2012, therefore, Glory Demeter had no

claim or right to any share of her late father’s “intestate estate.”

        Sixth, in unilaterally causing and continuing to cause Glory Demeter’s name to be on the

two joint bank accounts at issue, for many years before the events of February 2012, Ms. Ziole

never had any intention of giving Glory Demeter any ownership of any portion of the funds in the

accounts. Rather, as she testified, Ms. Ziole put Glory Demeter’s name on the accounts for these

reasons:

                  Q          Okay. Why was Glory's name put on the [PNC Bank] bank
                             account?

                  A          Well, I just thought in case I would ever become ill and I
                             needed her maybe to write a check for me.
                  ...

                  Q          Why was Glory's name put on the [Fifth Third Bank] bank
                             account?

                  A          . . . In case I would become ill and I would need her to
                             write a check for me.
                  ...

                  Q          . . . After your husband's death --
                  ...

                  Q          -- did you add Glory Demeter's name to the Fifth Third and
                             PNC account, or whatever they were named then?


        26
             Tr. at 61-62.

                                                       14



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                 A        After he had passed away.

                 Q        Do you know how long after he passed away?

                 A        Well, probably not too long, but not immediately.

                 Q        A year, two years?

                 A        Well, maybe within the year.

                 Q        And why did you do that?

                 A        Well, like I said, if anything happened to me, I wanted her
                          to have whatever I had.

                 Q        Did anybody recommend that you do that?

                 A        Oh, all my friends absolutely. They were all doing it.27

       For all of these reasons, the Court finds and concludes that Defendants have successfully

rebutted the presumption that they each owned a one-half interest in the Joint Accounts at issue.

And the Court finds and concludes that the Debtor, Glory Demeter, did not own any of the funds

in the two Joint Accounts.

       B. Why all of the Trustee’s claims fail

       1. Counts I and II (fraudulent transfer claims) in Adv. No. 12-5284

       It follows that when Glory Demeter induced her mother, Ms. Ziole, to move the money in

the Joint Accounts to accounts that were solely in Ms. Ziole’s name, and helped Ms. Ziole do so,

on February 6, 2012, there was no transfer of any property of the Debtor Glory Demeter. As a

result, the Trustee’s fraudulent transfer claims against Delores Ziole, Counts I and II in Adv. No.

12-5284, must fail. The Trustee cannot avoid the alleged transfers under any provision of


       27
            Tr. at 34, 44, 62-63.

                                                     15



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Bankruptcy Code § 548, because such avoidance requires the Trustee to prove that there was a

transfer of “an interest of the debtor in property” (or the incurring of an obligation by the debtor).

See 11 U.S.C. § 548(a)(1).

       Nor can the Trustee avoid the alleged transfers under the Michigan’s version of the

Uniform Fraudulent Transfer Act (“UFTA”). That Act’s definition of “transfer” is limited to

disposing of “an asset or an interest in an asset.” See Mich. Comp. Laws Ann. § 566.31(1)(l).

And the fraudulent transfer avoidance provisions of the UFTA apply only to a “transfer” by a

debtor (or the incurring of an obligation by a debtor). Here the “debtor” (Debtor Glory Demeter)

did not dispose of “an asset or an interest in an asset.” Rather, only a non-“debtor” (Delores

Ziole) did so. So the alleged transfers cannot be considered “transfer[s]” that can be avoided

under any of the provisions of the UFTA. See Mich. Comp. Laws Ann. §§ 566.34(1), 566.35(1),

566.35(2).

       For these reasons, the Trustee’s fraudulent transfer claims fail.

       2. Count III in Adv. No. 12-5284

       Count III in Adv. No. 12-5284 seeks an order requiring Delores Ziole to turn over to the

Trustee, under 11 U.S.C. § 542(a), alleged property of the Glory Demeter bankruptcy estate.

Such property of the bankruptcy estate is alleged to be “the [D]ebtor’s interest in the estate of

Walter Ziole.”28

       To prevail on this claim, the Trustee had the burden of proving that as of the February 28,

2012 date of her Chapter 7 bankruptcy petition, the Debtor Glory Demeter had an interest in the

estate of her late father Walter Ziole, who died 23 years earlier, in 1989, and to prove what the


       28
            First Amended Complaint in Adv. No. 12-5284 (Docket # 16) at 5, ¶¶ 27-28.

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value of that interest was. The Trustee did not meet his burden of proof on either score. For this

reason, and for the reasons stated in Part IV.A of this opinion, this claim by the Trustee fails.

       3. Count IV in Adv. No. 12-5284 (disallowance of claim under 11 U.S.C. § 502(d))

       Count IV in Adv. No. 12-5284 seeks the disallowance, under 11 U.S.C. § 502(d), of any

claim filed by Delores Ziole in Glory Demeter’s bankruptcy case. Ms. Ziole has not filed a proof

of claim in the bankruptcy case, and the deadline for filing claims was April 17, 2013, according

to the Clerk’s notice entitled “Notice of Need to File Proof of Claim Due to Recovery of Assets”

filed and served in the bankruptcy case (Docket # 91 in Case No. 12-44593).

       In any event, the relief sought in Count IV cannot be granted because the Court today has

determined that the Trustee’s other counts fail. Given that, there is no basis under § 502(d) for

disallowing a claim filed by Delores Ziole.

       4. Count I in Adv. No. 12-5212 (objection to the Debtor Glory Demeter’s discharge)

       In Count I of the Trustee’s complaint in Adv. No. 12-5212 (the only remaining count), the

Trustee seeks the denial of Debtor Glory Demeter’s discharge, based on 11 U.S.C.

§ 727(a)(2)(A). The success of this count depends on the Trustee meeting his burden of proving,

among other elements, that the Debtor Glory Demeter transferred “property of the debtor, within

one year before the date of filing of the [bankruptcy] petition.”

       Based on the Court’s findings and conclusions, above, the Trustee has failed to meet his

burden of proving this element of his objection to discharge. As a result, this count also fails.

V. Conclusion

       For the reasons stated in this opinion, the Court will enter a judgment in Adv. No. 12-

5212, dismissing the remaining count of the Trustee’s complaint with prejudice; and the Court


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will enter a judgment in Adv. No. 12-5284, dismissing all four counts of the Trustee’s First

Amended Complaint, with prejudice.


Signed on October 16, 2015                    /s/ Thomas J. Tucker
                                              Thomas J. Tucker
                                              United States Bankruptcy Judge




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